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          Docket Text:      I
          ORDER Directing Clerk to reopen case; Granting Plaintiff's ifp; SUMMONS SHALL NOT
          ISSUE, at this tirpe, etc. Signed by Judge Noel L. Hillman on 5/2/2019. (rss, n.m.)

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              1:18-cv-12910-NLH-AMD Notice has been sent by regular U.S. Mail:
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